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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


RAJESH BADAM.,

                  Plaintiff,

        v.                                       Civil Action No. 1:25-cv-1098 (CJN)

TODD M. LYONS, Acting Director, U.S.
Immigration and Customs Enforcement,

                  Defendant.



K. ALI, et al.,

                  Plaintiffs,

        v.                                       Civil Action No. 1:25-cv-1151 (CJN)

DEPARTMENT OF HOMELAND
SECURITY, et al.,

                  Defendants.



HARUN OZTURK, et al.,

              Plaintiffs,

        v.                                       Civil Action No. 1:25-cv-1203 (CJN)

KRISTI NOEM, Secretary of Homeland
Security,

                    Defendant.




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                                               ORDER

       Plaintiffs in these cases are (or were) F-1 visa holders who sought preliminary injunctive

relief after the government terminated their records in the Student and Exchange Visitor

Information System (SEVIS), apparently as a result of criminal records checks indicating that they

had criminal histories. See Badam, ECF No. 7-1 (Watson Decl.) ¶¶ 7–9; Ali, ECF No. 9-1 (Watson

Decl.) ¶¶ 10, 12, 16, 19, 22, 25, 28, 31, 34, 37, 40, 43, 45, 50, 52, 55, 59, 61, 64, 67; Ozturk, ECF

No. 9-1 (Watson Decl.) ¶¶ 9, 11, 15, 17, 20, 24, 27, 29. Plaintiffs alleged that the termination of

their SEVIS records inflicted irreparable harm on them because it effected a termination of their

F-1 status, thereby preventing them from working or attending school in the United States and

exposing them to the possibility of deportation. See Badam, ECF No. 2 (Mot.) at 16; Ali, ECF No.

2 (Mot.) at 12–13; Ozturk, ECF No. 3 (Mot.) at 7–8. They accordingly asked the Court to “enjoin[]

. . . ICE’s termination of [their] SEVIS record[s] and F-1 status during the course of this litigation.”

Badam, ECF No. 1 (Compl.) ¶ 57.

       While plaintiffs’ motions were pending, however, the government filed a notice in each of

these cases representing that:

       ICE is developing a policy that will provide a framework for SEVIS record
       terminations. Until such a policy is issued, the SEVIS records for [plaintiffs] (and
       other similarly situated plaintiffs) will remain Active or shall be re-activated if not
       currently active and ICE will not modify the record solely based on the [National
       Crime Information Center (NCIC)] finding that resulted in the recent SEVIS record
       termination.

E.g., Badam, ECF No. 13 at 2. In light of that change, the Court ordered plaintiffs to advise

whether their SEVIS records had been restored, and all plaintiffs reported that they had. See

Badam, ECF No. 17; Ali, ECF No. 14; Ozturk, ECF No. 16. The following day, the government

filed on the docket a copy of its promised “new policy” regarding termination of SEVIS records,




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which did not list criminal records checks as a valid basis for terminating a record in SEVIS. See

Badam, ECF No. 16-1 at 1.

       To obtain a temporary restraining order or preliminary injunction, a plaintiff must make a

“clear showing that four factors, taken together, warrant relief: likely success on the merits, likely

irreparable harm in the absence of preliminary relief, a balance of the equities in [his or her] favor,

and accord with the public interest.” League of Women Voters of the U.S. v. Newby, 838 F.3d 1,

6 (D.C. Cir. 2016). But the “basis of injunctive relief in the federal courts has always been

irreparable harm,” Sampson v. Murray, 415 U.S. 61, 88 (1974), and “[a] movant’s failure to show

any irreparable harm is . . . grounds for refusing to issue a [TRO or] preliminary injunction, even

if the other three factors entering the calculus merit such relief.” Chaplaincy of Full Gospel

Churches v. England, 454 F.3d 290, 297 (D.C. Cir. 2006). The Court concludes that, as things

now stand, plaintiffs have not demonstrated that they will suffer irreparable harm absent a TRO or

preliminary injunction. It will therefore deny plaintiffs’ motions on that basis.

       The reactivation of plaintiffs’ SEVIS records—which is the primary relief plaintiffs sought

in their motions—means that they are neither presently nor imminently subject to any of the harms

they pointed to in their briefs. They may attend class and go to work as before, and even assuming

that terminating a record in SEVIS necessarily equates to terminating F-1 status—a point that the

government contests—plaintiffs make no suggestion that restoring a record would not

correspondingly restore that status. Nor do plaintiffs indicate that any other threat to their F-1

status exists as a result of the time period in which they lacked active SEVIS records. 1 Moreover,



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          One plaintiff, Rajesh Badam, appears to argue that he presently lacks F-1 status despite
the restoration of his SEVIS record because, when his SEVIS record was terminated, he received
an explanatory alert stating: “OTHERWISE FAILING TO MAINTAIN STATUS – Individual
identified in criminal records check and/or has had their VISA revoked. SEVIS record has been
terminated.” Badam, ECF No. 2-5 at 1; ECF No. 17 at 1. But the government attested that
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the new policy’s conspicuous omission of “criminal records check” as a legitimate reason for

terminating SEVIS records suggests that the government has reconsidered its prior approach and

will not again terminate plaintiffs’ SEVIS records due to their NCIC hits alone.

       As their only remaining claim of irreparable harm, plaintiffs point to a line in the new

policy stating that SEVIS records may be terminated due to a “U.S. Department of State Visa

Revocation (Effective Immediately).” See Badam, ECF No. 17 at 1–2; Ali, ECF No. 14 at 1.

Because some plaintiffs have had their visas revoked by the State Department, they argue that they

“remain[] subject to SEVIS and F-1 termination under [the government’s] new policy,” and thus

still face all the consequences that would flow from those events. Badam, ECF No. 17 at 2. But

irreparable harm must be imminent to warrant a TRO or preliminary injunction. See Chaplaincy

of Full Gospel Churches, 454 F.3d at 297. Here, it is purely hypothetical whether the government

might terminate any plaintiff’s SEVIS record based on his or her visa revocation; the text of the

policy surely does not require it to do so. See Badam, ECF No. 16-1 at 1–2. Indeed, it is not clear

whether any plaintiff’s visa revocation even falls into the category of actions that could lead to

SEVIS termination: the policy emphasizes that a visa revocation must be “effective immediately”

in order to form the basis for a termination, and no plaintiff has alleged receiving a revocation of

that particular kind. Id.

       In sum, the mere possibility that the government could again terminate plaintiffs’ SEVIS

records in the future is too speculative to warrant preliminary injunctive relief today, and in any

event the Court will require the government to provide it notice if it does so with respect to any



Badam’s SEVIS record was terminated “[b]ased on [his] criminal history and lack of a valid visa,”
Badam, Watson Decl. ¶ 9, not due to any other asserted failure to maintain status. The
“OTHERWISE FAILING TO MAINTAIN STATUS” language in the SEVIS alert is thus best
read as a kind of general header that, while inartful, does not amount to a specific declaration about
status itself.
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plaintiff. Plaintiffs also do not seek to enjoin their underlying visa revocations, which in any event

might not be subject to challenge here. See, e.g., Saavedra Bruno v. Albright, 197 F.3d 1153, 1158

n.2 (D.C. Cir. 1999) (consular officers have “complete discretion over issuance and revocation of

visas”) (citing 8 U.S.C. §§ 1104(a), 1201(i); 22 C.F.R. § 41.122). The Court must therefore deny

plaintiffs’ motions.

       It is accordingly

       ORDERED that the Motions for Temporary Restraining Orders, Ali and Ozturk ECF Nos.

2, and the Motion for Temporary Restraining Order or Preliminary Injunction, Badam ECF No. 2,

are DENIED; and it is further

       ORDERED that, if the government terminates any plaintiff’s SEVIS record, it shall

immediately notify the Court.




DATE: May 5, 2025                                             ________________________
                                                              CARL J. NICHOLS
                                                              United States District Judge




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